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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In re:                                           )
                                                 )
BOULDER ENTERPRISES, LLC,                        )   CHAPTER 7
EIN: XX-XXXXXXX,                                 )   CASE NO. 18-13666-EEB
                                                 )
      Debtor.                                    )
JOLI A. LOFSTEDT, Chapter 7 Trustee,             )
                                                 )
         Plaintiff,                              )
vs.                                              )   Adversary Proc. No. 20-________ EEB
                                                 )
HARVEST MEAT COMPANY, INC.                       )
                                                 )
         Defendant.                              )

                                          COMPLAINT


       Joli A. Lofstedt, as Chapter 7 trustee (“Trustee”) of the bankruptcy estate of Boulder
Enterprises, LLC, hereby files his complaint (the “Complaint”) against Defendant Harvest Meat
Company, Inc. (“Harvest”), stating the following:

                                 PARTIES AND JURISDICTION

        1.      On April 30, 2018 (the “Petition Date”), Boulder Enterprises, LLC (“Debtor”)
filed a voluntary petition for protection under Chapter 11 of Title 11 of the United States Code.

       2.     Debtor’s case converted to a case under Chapter 7 of title 11 of the United States
Code (the “Bankruptcy Code”) on December 4, 2018 (the “Conversion Date”). Thereafter,
Trustee was appointed Chapter 7 Trustee of Debtor’s bankruptcy estate and continues to serve as
such.

        3.      Upon information and belief, Harvest is a Delaware corporation with its principal
offices located at 1022 Bay Marina Drive, #106, National City, California, 91950. The registered
agent is CT Corporation System located at 7700 E Arapahoe Rd., Suite 220, Centennial,
Colorado, 80112-1268.

         4.      This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B) (F) and (O).

         5.      Venue is proper in this district pursuant to 28 U.S.C. § 1409.

      6.      Pursuant to Fed.R.Bankr.P. 7008, Trustee consents to entry of final orders or
judgment by the Court.
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                                 GENERAL ALLEGATIONS

       7.      Debtor owned and operated a meat processing company in Denver, Colorado and
was engaged in the packaging and production of primarily poultry products. In operating its
business, Trustee is informed and believes that Debtor purchased supplies and products from the
Harvest branch in Aurora, Colorado.

        8.     Within 90 days prior to the Petition Date, Trustee is informed and believes that
Debtor made payments totaling $171,063.74, as described in more detail on Exhibit A attached
hereto, to Harvest (collectively, the “Pre-Petition Payments”).

                                FIRST CLAIM FOR RELIEF
                    (Preferential Transfers pursuant to 11 U.S.C. § 547(b))

         9.       Trustee re-alleges paragraphs 1 through 8 of this Complaint and incorporates them
as if fully set forth herein.

       10.     The Pre-Petition Payments were transfers of an interest of Debtor in property within
the meaning of 11 U.S.C. §§ 101(54) and 547.

       11.     The Pre-Petition Payments were to or for the benefit of Harvest.

       12.    The Pre-Petition Payments were for or on account of antecedent debt owed by
Debtor to Harvest before the Pre-Petition Payments were made.

        13.    The Pre-Petition Payments were made while Debtor was insolvent. Pursuant to
11 U.S.C. §547(f), Debtor is presumed insolvent during the 90 days immediately preceding the
Petition Date.

      14.     The Pre-Petition Payments were made on or within the 90-day period
immediately preceding the Petition Date (the “Preference Period”).

        15.     The Pre-Petition Payments enabled Harvest to receive more than it would have
received if the case were a case under Chapter 7 of this Title, the Pre-Petition Payments had not
been made, and Harvest received payment of its debt to the extent provided by the provisions of
Title 11.

        16.     Trustee is informed and believes that Harvest provided new value after some of the
Pre-Petition Payments were made. Based on the information available, Trustee believes that a
portion of the Pre-Petition Payments are avoidable as preferential transfers pursuant to Bankruptcy
Code § 547(b).

        17.    Trustee asserts that through discovery, it may become known that additional
payments were made by Debtor to Harvest during the Preference Period. Trustee asserts that all or
a portion of such additional payments may be avoidable as preferential transfers under Bankruptcy
Code § 547(b) and are included herein in the definition of “Pre-Petition Payments”.



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                               SECOND CLAIM FOR RELIEF
                     (Liability of Transferee pursuant to 11 U.S.C. § 550)

       18.      Trustee re-alleges paragraphs 1 through 17 of this Complaint and incorporates
them as if fully set forth herein.

      19.      Upon information and belief, Harvest was the initial transferee of the Pre-Petition
Payments.

       20.     Harvest was the entity for whose benefit the Pre-Petition Payments were made.

       21.     Pursuant to Bankruptcy Code §550(a)(1), Trustee may recover from Harvest for
the benefit of the estate, the amount of the Pre-Petition Payments avoided under Bankruptcy
Code §§ 547.

                               THIRD CLAIM FOR RELIEF
                    (Disallowance of Claims Pursuant to 11 U.S.C. § 502(d))

       22.      Trustee re-alleges paragraphs 1 through 21 of this Complaint and incorporates
them as if fully set forth herein.

       23.     Bankruptcy Code § 502(d) provides:

               the court shall disallow any claim of any entity from which property is
               recoverable under section . . . 550 . . . of this title or that is a transferee of
               a transfer avoidable under section . . . 547, 549 . . . of this title, unless such
               entity or transferee has paid the amount, or turned over such property.

        24.    In this proceeding, Trustee is requesting that the Court disallow all claims held by
Harvest against the estate pursuant to Bankruptcy Code § 502(d) if Harvest is holding any Pre-
Petition Payments avoidable and recoverable under Bankruptcy Code §§ 547 and 550. In this
proceeding, Trustee is not objecting to the allowance of any claim held by Harvest on any other
ground, and expressly reserves the right to object to Harvest’s claims, if any, on any other
ground by filing an objection in the main bankruptcy case.

                                     PRAYER FOR RELIEF

        WHEREFORE, Trustee respectfully requests a judgment in his favor and against Harvest
as follows:

               a.      Avoiding the Pre-Petition Payments pursuant to 11 U.S.C. § 547(b) and
                       entering judgment in favor of Trustee and against Harvest in the amount of
                       the Pre-Petition Payments avoided under 11 U.S.C. § 547(b);

               b.      Disallowing all claims held by Harvest against the bankruptcy estate
                       pursuant to Bankruptcy Code § 502(d) if Harvest is holding any Pre-
                       Petition Payments avoidable and recoverable under Bankruptcy Code §§
                       547 and 550; and


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             c.     Granting such other and further relief as the Court deems just and proper.

Dated: April 28, 2020.                    Respectfully submitted,

                                          Robinson, Waters and O’Dorisio, P.C.

                                          /s/ Joel Laufer
                                          Joel Laufer, Reg. No. 7728
                                          Attorneys for the Trustee
                                          1099 18th Street, Suite 2600
                                          Denver, Colorado 80202
                                          Telephone: (303) 824-3152
                                          Facsimile: (303) 297-2750
                                          jlaufer@rwolaw.com




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3:31 PM                       Case:20-01130-EEB Doc#:1Bolder  Enterprises,
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04/07/20
Cash Basis                                                    Transactions by Account
                                                                      As of April 30, 2018
      Type          Date       Num              Name              Original Amount   Date Cleared                            Notes / Comments



Bill Pmt -Check   02/09/2018 5544    Harvest Meat Company, Inc.         42,488.02       02/20/2018 BILLS V52111 on 1/10/18 and V51222 on 1/10/18
Bill Pmt -Check   02/22/2018 5662    Harvest Meat Company, Inc.         19,753.28       02/26/2018 BILL V58738 on 1/16/18
Bill Pmt -Check   03/01/2018 5663    Harvest Meat Company, Inc.         31,400.00       03/02/2018 BILL V65156 on 1/19/18
                                                                                                   BILLS V70436, V70620 and V70621 on 1/24/18 and V74399 on
Bill Pmt -Check   03/02/2018 5698    Harvest Meat Company, Inc.         25,482.44       03/06/2018 1/26/18
Bill Pmt -Check   03/08/2018 5702    Harvest Meat Company, Inc.         51,940.00       03/19/2018 BILL V76485 on 1/29/18
                                                                       171,063.74




                                                                                                                              Exhibit A                   Page 1 of 1
